Case 1:Ol-CV-01532-ERK-RI\/|L Document 88 Filed 03/27/06 Page 1 of 2 Page|D #: 406

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

GREGORY W. MEEKS,

Defendant.

)
ANDREA T. PAYNE, )
)
Plaintiff, )
)
v. ) CV 01 - 1 532
) (Korman, C.J.)
EMPLOYING OFFICE OF REPRESENTATIVE ) (Levy, M.J.)
)
)
)
)

 

STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE

IT IS HEREBY STIPULATED AND AGREED, by and between the parties to the
above-entitled action, by and through their respective undersigned counsel that, in accordance
with the Stipulation of Settlement, this action and any and all claims arising therefrom are hereby
dismissed With prejudice pursuant to Rule 4l(a)(l) of the Federal Rules of Civil Procedure, with
each party to bear its own costs, fees, including attomey’s fees, and disbursements, except as
expressly set forth in the Stipulation of Settlement. Plaintiff further agrees that no further suit
will be instituted for the same causes of action which have been asserted herein, or for any other

causes of action arising out of the incidents or circumstances which gave rise to this lawsuit.

Case 1:Ol-CV-01532-ERK-RI\/|L Document 88 Filed 03/27/06 Page 2 of 2 Page|D #: 407

Dated: Brooklyn, New York
[daf¢]

so 0RDERED this day of

 

HoNoRABLE c.J. KoRMAN
United States Distn'ct Judge

 

l Appearing by 2 U.S.C. §l408(d).

2Ial.

Respectfully submitted,

ama/tait

GLORIA J. LE'IT ESQ.l (DC Bar #295365)
KIMBERLY C. WILLIAMS, ESQ.2 (VSB #41325)
Office of House Employment Counsel

1036 Longworth House Otflce Building
Washington, DC 20515

(202) 225-7075

@>¢L"Ln/>~
DAVID'N. MAIR, EsQ. (DM-ssss)
Kaiscr, Saurborn & Mair, P.C.
Attorneys for Plaintiff
20 Exchange Place
New Vork, NY 10005

(212) 338-9100

2006

